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~~ (_ Alexandtia Neuro Center
~( and Headache Clinic

Arsham Naaibandian, M.D,, FAAN M. Riad Hajmurad, M.D,
Neurology
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Fellow Academy of Ne Quailfication inPediotie Neurclogy
JERRY MCKINNEY #94489 DOB: 03/29/53" ”

07/31/18 The patient has history of bilateral hemispherip CVA. He has been doing fairly well,
No further TIA or CVA,

 

The patient is very sensitive to noises. When he hears lol noises, he gets very irritable and has
headaches,

No dizziness. No double vision. No passing out spells.

 

Tam going to do BAER study to be sure there are no abnormalities of the eighth nerve,

and EMG. This showed evidence of mild cervical spondylosis and carpal tunnel syndrome, For
that reason, his hand coordination is not good. He cannot do shooting as a police officer, He is

Supposed to change his position to watching the inmates, | There are a lot of noises. He probably
cannot work in these conditions. For that reason, I will give him exouse to continue what he is
doing now.

I'am going to repeat the MRI for followup of his Previous CVA.
Past medical history is significant for hypertension, stabld,
Vue

No chest pain or shortness of breath, No difficulty swalld wing. He has increasing
hypersensitivity to noises,

REVIEW OF SYSTEMS: Medical history and review|of systems were covered on the
patient’s questionnaire and reviewed.

Blood pressure 140/80, No carotid bruits, Pulse 84.

 

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EXHIBIT

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M. Rlad Hajmurad, M.D,
Neurology

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Fellow American Academy of Neurology Suaiiication in Pedtate Neurology
JERRY MCKINNEY #94489 DOB: 03/29/53
DOS: 07/31/18 CON
NEUROLOGIC EXAMINATION:
Mental Status; The patient seems to be alert, awake. Mental status is clear, Speech
is normal, Follows commands properly, Oriented to time, place,
person. No evidence of aphasia, whether it be receptive or
expressive.
Head & Neck: Normocephalic, Neck is ple. No carotid bruit. No tenderness in
the temporal or cervical areh, .
Cranial Nerves: Extraocular movements arelintact. No visual field deficit. Normal
sensation in the Trigeminal nerve. No facial asymmetry, Tongue
and palate midline. Sterno leidomastoid muscle is normal.
Sensation: Normal to pinprick, vibrato » Position. No sensory level present.
Motor: There is good range of motion in both upper and lower extremities.
No focal atrophy or fasciculations, Good tone. No spasticity or
increased tone. Good strength. Downgoing toe bilaterally. No
posture. Finger to nose is intact. No drift, Gait is normal,’
Reflexes are 2+.
I did EMG and nerve conduction study. This showed evidence of carpal tunnel syndrome and —
some chronic changes in C6,
IMPRESSION:
1, Multiple CVA bilaterally,
2. Increasing sensitivity to noises in both ears. I wonder if it may be related to CVA or eighth

nerve. We will do BAER study and repeat MRI of the bri

 

  

- We will continue aspirin daily.

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